        Case 1:14-cv-00183-NBF Document 485 Filed 06/14/19 Page 1 of 1




          In the United States Court of Federal Claims
                                          No. 14-183L
                                     (Filed: June 14, 2019)

                                             )
 IDEKER FARMS, INC., et al.,                 )
                                             )
                       Plaintiffs,           )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                       Defendant.            )
                                             )

      ORDER ON JOINT MOTION TO SUBSTITUTE PHASE II PLAINTIFF

        The court is in receipt of the parties’ joint stipulation for substitution of phase II
plaintiff filed on June 13, 2019 (ECF No. 484). Based on the representations in the joint
motion, the court GRANTS the parties’ request to include as a representative plaintiff
KMJ Farms, Inc. (Property 24) in lieu of Sargent (Property 21).

       IT IS SO ORDERED.

                                                              s/Nancy B. Firestone
                                                              NANCY B. FIRESTONE
                                                              Senior Judge
